              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION
                          3:85CR62-RLV

____________________________________
UNITED STATES OF AMERICA             )
                                     )
v.                                   )
                                     )
WAYNE PORTER                        )
____________________________________)



       DEFENDANT’S RESPONSE IN OPPOSITION TO GOVERNMENT’S
                     MOTION TO DISMISS

       NOW COMES the Defendant, Wayne Porter, through counsel, and

submits this response in opposition to the “Government’s Motion to Dismiss

Defendant’s ‘Motion to Dismiss Illegal Sentence’” filed in the above-captioned

matter on July 3, 2014 (Doc. No. 10). For the following reasons, the Court

should deny the government’s motion to dismiss.

                                  DISCUSSION

       In its motion to dismiss, the government contends that this Court should

construe Mr. Porter’s Motion to Correct his Illegal Sentence Pursuant to Former

Fed. R. Crim. P. 35(a), filed July 1, 2010 (Case No. 3:85CR62; Doc. No. 3), as a

motion to vacate, set aside, or correct a sentence pursuant to 28 U.S.C. § 2255.

The government relies on United States v. Little, 392 F.3d 671 (4th Cir. 2004) in its

assertion that Mr. Porter’s motion should be construed as a § 2255 motion.


                                 1
      Case 3:14-cv-00373-RLV Document 4 Filed 07/08/14 Page 1 of 5
      In Little, the defendant, relying on Rutledge v. United States, 517 U.S. 292

(1996), challenged his conviction for taking part in a drug conspiracy in

violation of 21 U.S.C. § 846 on the ground that it violated his right against

double jeopardy where he was also convicted of engaging in a continuing

criminal enterprise (“CCE”) in violation of 21 U.S.C. § 848(a). The Fourth

Circuit explained that:

              [a] sentence is not illegal within the meaning of [former]
              Rule 35(a) if “[t]he punishment meted out was not in excess
              of that prescribed by statute, multiple terms were not
              imposed for the same offense, nor were the terms of the
              sentence itself legally or constitutionally invalid in any other
              respect.”

Little, 392 F.3d at 677 (quoting Hill v. United States, 368 U.S. 424, 430 (1962).

Applying the law to the case, the Fourth Circuit observed that “Little’s Rutledge

claim attacks his conviction; Little alleges that his conviction for Count One

(conspiracy) must be vacated. Thus, we … find that Little’s Rutledge claim

attacks his underlying conviction, and not his sentence….” Id. at 678 (emphasis

original). The Court therefore construed his double jeopardy claim as a § 2255

motion. Id.

      Here, unlike the defendant in Little, Mr. Porter does not allege that his

conviction should be vacated. He merely asserts that his sentence should be set

aside. The ground for setting it aside is one of the grounds the Fourth Circuit

identified in Little for granting relief under former Rule 35(a); that is, the


                                 2
      Case 3:14-cv-00373-RLV Document 4 Filed 07/08/14 Page 2 of 5
sentence is “illegal within the meaning of Rule 35(a)” because “multiple terms

were imposed … for the same offense.” See id. at 677. In Mr. Porter’s case,

multiple terms were imposed against him for the same conspiracy offense.

This Court, therefore, should not construe Mr. Porter’s Rule 35(a) motion as a §

2255 motion because he challenges only his sentence, rather than his conviction,

on a ground applicable under former Rule 35(a).

         The government also contends that Mr. Porter’s motion is barred on the

grounds of res judicata or “law of the case” because this Court already

addressed the challenge he raises in his instant motion when it dismissed a

previously filed Rule 35(a) motion alleging the same double jeopardy violation

after construing it as a successive § 2255 motion. The motion was filed pro se,

and it was not clear in the motion whether Mr. Porter challenged his

convictions or his sentences. 1            This Court construed it as a § 2255 motion and

denied it as such. Because this Court has not yet addressed the challenge to

Mr. Porter’s sentence that he raises in the instant Rule 35(a) motion within the

context of former Rule 35(a), the law of the case here has not yet been settled.

The issue to be considered, and which has not yet been addressed by this or

any Court, is whether Mr. Porter is entitled have his sentence corrected under



1
 The Fourth Circuit interpreted Mr. Porter’s challenge as a challenge to his conviction, rather than his
sentence. See United States v. Porter, 163 Fed.Appx 242 (4th Cir. January 25, 2006) (unpublished
opinion).


                                   3
        Case 3:14-cv-00373-RLV Document 4 Filed 07/08/14 Page 3 of 5
former Rule 35(a) where he was illegally sentenced to multiple terms for the

same offense.

                                 CONCLUSION

      For the reasons stated herein, the Court should deny the government’s

motion to dismiss and grant Mr. Porter’s motion to correct his illegal sentence

pursuant to former Rule 35(a).




      This the 8th day of July, 2014.




                                               Respectfully submitted,

                                               /s/ Matthew G. Pruden
                                               Matthew G. Pruden
                                               Bar No. 32888
                                               Attorneys for Mr. Porter
                                               Tin Fulton Walker & Owen,
                                               PLLC
                                               301 East Park Ave.
                                               Charlotte, NC 28203
                                               Phone: 704-338-1220
                                               Fax: 704-338-1312
                                               Email: mpruden@tinfulton.com




                                 4
      Case 3:14-cv-00373-RLV Document 4 Filed 07/08/14 Page 4 of 5
                           CERTIFICATE OF SERVICE

             I certify that I have served the foregoing
DEFENDANT/PETITIONER’S RESPONSE IN OPPOSITION TO
GOVERNMENT’S MOTION TO DISMISS on opposing counsel by
submitting a copy thereof through ECF, to be sent to:

              Richard Edwards
              Assistant United States Attorney
              100 Otis Street, Suite 233
              Asheville, NC 28801
              Richard.edwards2@usdoj.gov




This the 8st day of July, 2014.



                                                 Respectfully submitted,

                                                 /s/ Matthew G. Pruden
                                                 Matthew G. Pruden
                                                 Bar No. 32888
                                                 Attorneys for Mr. Porter
                                                 Tin Fulton Walker & Owen,
                                                 PLLC
                                                 301 East Park Ave.
                                                 Charlotte, NC 28203
                                                 Phone: 704-338-1220
                                                 Fax: 704-338-1312
                                                 Email: mpruden@tinfulton.com




                                 5
      Case 3:14-cv-00373-RLV Document 4 Filed 07/08/14 Page 5 of 5
